Case 2:04-cr-20081-.]PI\/| Document 138 Filed 09/02/05 Page 1 of 2 Page|D 217
r~

 

IN THE UNITED sTATES DISTRICT COURT m BY Ugv"~j D-C.
FoR THE WESTERN DISTRICT 0F TENNESSEE 0
WESTERN DIVISION 5 SEP -2 PH 5: 20
H'UW\S M. GOUI_D
Cl£l~`d<, US §:.'STQ:@ sam
UNITED STATES OF AMERICA W/D(F ‘{£4%%

Plaintiff,
VS CR. NO. 04-20081-Ml
BILLY THOMAS PHILLIPS

Defendant(s)

\-._r\_u-_,~_/V`_/V\._.--._r~._r~_’v

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Status Report on Friday, September 2, 2005
at 10:30 A.M. Counsel for the government requested a Continuance of the
trial setting on Monday, October 3, 2005 at 9:30 A.M. The continuance
is necessary to allow for additional preparation in the case.

The Court granted the request and continued the matter for trial to
Monday, November 14, 2005 at 2:30 P.M.

The period from October 14, 2005 through November lB, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow government
counsel additional time to prepare.

IT IS SO ORDERED this the 62 day of September, 2005.

000an

ON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

  
 
 

.....
\w nw

i~_ rff\!`l!q-|-.q=rjf nnfm'g(j op +he -10,»\ket WU
' ma ‘1r~r32{D)FRCrP’0n q/ v /éf

 

DISTRIC COUR - WE"RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 138 in
case 2:04-CR-20081 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.

50 N. Front St.
Ste. 800
Memphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

